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                               UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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 11   SOVEREIGN PEAK VENTURES,                 CASE NO. 2:18-cv-10069-AB-JPR
      LLC
 12                                                [PROPOSED] ORDER GRANTING
                  Plaintiff,                       JOINT STIPULATION TO
 13         v.                                     EXTEND TIME TO RESPOND TO
 14                                                COMPLAINT
      FEIT ELECTRIC COMPANY, INC.,
 15                                                Complaint Served: 12/5/18
 16               Defendant.                       Current Response Date: 1/22/19
                                                   New Response Date: 2/21/19
 17
 18         For good cause, the Court hereby GRANTS the parties’ Joint Stipulation to
 19   Extend Time to Respond to Complaint. Accordingly, Defendant Feit Electric
 20   Company, Inc. shall have until February 21, 2019 to respond to the Complaint.
 21
 22         IT IS SO ORDERED.
 23
 24   Dated: January 22, 2019              _____________________________
                                           Honorable Andre Birotte Jr.
 25                                        United States District Court Judge
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                                                    ORDER – CASE NO. 2:18-CV-10069
